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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

FEDERAL TRADE COMMISSION   )
and STATE OF ILLINOIS,     )
                           )
         Plaintiffs,       )                        No. 15 C 11473
                           )
         v.                )                        Judge Jorge L. Alonso
                           )
ADVOCATE HEALTH CARE,      )
ADVOCATE HEALTH AND        )
HOSPITALS CORPORATION, and )
NORTHSHORE UNIVERSITY      )
HEALTHSYSTEM,              )
                           )
         Defendants.       )

                         REDACTED MEMORANDUM OPINION
                                  AND ORDER

       Plaintiffs, the Federal Trade Commission (“FTC”) and the State of Illinois, have sued

defendants to enjoin them from consummating their proposed merger, pending completion of the

FTC’s administrative trial on the merits of plaintiffs’ antitrust claims. This Court held a

preliminary injunction hearing over nine days in April and May of 2016. The Court initially

denied the motion for preliminary injunction, holding that plaintiffs had not met their burden of

proving a relevant geographic market, but on appeal, the Seventh Circuit reversed and remanded

for further proceedings, holding that this Court’s decision was based on erroneous factual

findings. The Court has received additional briefing from the parties, and it now reconsiders

plaintiffs’ motion for preliminary injunction in light of the guidance the Seventh Circuit has

provided. This opinion sets forth the Court’s findings of fact and conclusions of law pursuant
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to Federal Rules of Civil Procedure 52(a)(2).1 For the reasons set forth below, the Court grants

the motion.

                                               BACKGROUND

Parties

          Defendant Advocate Health Care Network, which is the parent of Advocate Health and

Hospitals Corp. (collectively, “Advocate”), is a health care system that includes eleven hospitals:

(1) BroMenn Medical Center; (2) Christ Medical Center; (3) Condell Medical Center; (4) Eureka

Hospital; (5) Good Samaritan Hospital; (6) Good Shepherd Hospital; (7) Illinois Masonic

Medical Center; (8) Lutheran General Hospital; (9) Sherman Hospital; (10) South Suburban

Hospital; and (11) Trinity Hospital. See http://www.advocatehealth.com/hospital-locations (last

visited January 26, 2017). Defendant NorthShore University HealthSystem (“NorthShore”) is a

health care system that includes four hospitals: (1) NorthShore Evanston Hospital; (2)

NorthShore Glenbrook Hospital; (3) NorthShore Highland Park Hospital; and (4) NorthShore

Skokie Hospital. See http://www.northshore.org/locations (last visited January 26, 2017). In

September 2014, Advocate and NorthShore signed an affiliation agreement to merge and create

Advocate NorthShore Health Partners (“ANHP”). (See DX3118, Affiliation Agreement.) “The

combined entity would operate 15 GAC [general acute care] hospitals in Illinois and would

generate approximately $7.0 billion in revenue.” (Pls.’ Proposed Findings of Fact (“PFF”) ¶ 3,

ECF No. 446.)

Health Care Contracting




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  To the extent any findings of fact may be deemed conclusions of law, they shall also be considered conclusions of
law. To the extent that any conclusions of law may be deemed findings of fact, they shall also be considered
findings of fact. See McFadden v. Bd. of Educ. for Illinois Sch. Dist. U-46, 984 F. Supp. 2d 882, 886 n.1 (N.D. Ill.
2013).

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        Commercial health insurers (also called payers) try to create networks of health care

providers that are attractive to potential members. (Id. ¶ 12; Defs.’ Proposed Findings of Fact

(“DFF”) ¶ 21, ECF No. 459; Preliminary Injunction Hr’g Tr. (“Tr.”) 75:11-16 [Norton-CIGNA];

id. at 148:12-18 [Hamman-Blue Cross Blue Shield of Illinois (“BCBSIL”)].) Among the factors

insurers consider when determining whether to include a hospital in a network are “the

attractiveness of that hospital, the quality, the reputation of that hospital, . . . its willingness to . . .

meet certain price points,” and its geographic coverage. (Tr. at 149:3-11 [Hamman-BCBSIL];

see id. at 74:18-75:7 [Norton-CIGNA].)

        Hospitals compete to be included in insurers’ networks and negotiate reimbursement

rates and services with the insurers. (PFF ¶ 9; Tr. at 76:8-19 [Norton-CIGNA]; id. at 149:12-20

[Hamman-BCBSIL]; JX 9, Englehart Investigative Hr’g (“IH”) Tr. at 142:2-9, ECF No. 453-9).)

A hospital has more bargaining leverage if there are fewer substitutes for it that can be included

in the insurer’s network; the insurer has more leverage if there are more substitutes for the

hospital. (Tr. at 106:23-107:3 [Norton-CIGNA]; id. at 150:22-51:22 [Hamman-BCBSIL];

                            .) The Chicago market is dominated by one commercial payer,

BCBSIL, which has about 4 million members in the Chicago area. (Tr. at 145:9-11 [Hamman-

BCBSIL]; id. at 1121:3-8 [Beck-United]; id. at 1175:13-22 [Nettesheim-Aetna]; id. at 1412:18-

25 [Sacks-Advocate].) The other payers include United Health Group, Aetna, CIGNA, and

Humana, which have about 1.5 million,                    , 350,000, and           members, respectively,

in the area. (Tr. at 72:2-4 [Norton-CIGNA]; id. at 1115:4-6 [Beck-United]; DX1515.0002,

Carrier Market Share Calculation; DX1862.0005, ECF No. 460-8; Advocate/Aetna Collaboration

Discussion Guide, ECF No. 460-12.)




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       Insurers pay health care providers under fee-for-service (“FFS”) or risk-based contracts.

Under FFS contracts, the payer pays a set fee for every service the provider gives to a patient.

(Tr. at 85:16-18 [Norton-CIGNA].) Risk-based contracts “[are] a set of payment arrangements

in which providers hold some degree of financial risk.” (PX 6001, Jha Report ¶ 10, ECF No.

450-2.) These arrangements may take any of a number of different forms. (Id. ¶ 24.) For

example, in their most extreme form, known as a full capitation or global risk arrangement, a

provider is paid a set amount per patient per month for all of that patient’s health care services,

regardless of the extent of the care that patient ultimately requires or how much it costs. (Id.)

Ninety percent of NorthShore’s commercial revenues come from FFS contracts; less than a third

of Advocate’s commercial revenues come from FFS contracts. (DFF ¶ 50; Tr. at 785:10-13

[Golbus-NorthShore]; id. at 1410:18-20 [Sacks-Advocate].)

Rationale for the Merger

       Advocate’s alleged rationale for the merger is “to create a new, low-cost, high

performing network (“HPN”) insurance product that can be sold . . . throughout Chicagoland,”

which it claims it cannot do “unless and until the merger with NorthShore is consummated due to

[Advocate’s] geographic gap east of Interstate 94.” (DFF ¶¶ 38, 49.) NorthShore’s alleged

rationale for the merger is “[to] engage in large-scale full risk contracting,” which it says it

cannot do “absent a merger, because it lacks: (1) sufficient geographic coverage; and (2)

utilization management tools, care management tools, physician workflows and experience, . . .

which Advocate can provide.” (Id. ¶ 52.)

                                         DISCUSSION

       Section 7 of the Clayton Act prohibits a merger “in any line of commerce or in any

activity affecting commerce in any section of the country, the effect of [which] may be



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substantially to lessen competition, or tend to create a monopoly.” 15 U.S.C. § 18. The Court

may preliminarily enjoin a violation of § 7 “[u]pon a proper showing that, weighing the equities

and considering the Commission’s likelihood of ultimate success, such action would be in the

public interest.” 15 U.S.C. § 53(b). “Therefore, ‘in determining whether to grant a preliminary

injunction . . . , a district court must (1) determine the likelihood that the FTC will ultimately

succeed on the merits and (2) balance the equities.’” FTC v. OSF Healthcare Sys., 852 F. Supp.

2d 1069, 1073 (N.D. Ill. 2012) (quoting FTC v. Univ. Health, Inc., 938 F.2d 1206, 1217 (11th

Cir. 1991)). “[T]o demonstrate such a likelihood of ultimate success, the FTC must raise

questions going to the merits so serious, substantial, difficult and doubtful as to make them fair

ground for thorough investigation, study, deliberation and determination by the FTC in the first

instance and ultimately by the Court of Appeals.” FTC v. Tenet Health Care Corp., 186 F.3d

1045, 1051 (8th Cir. 1999) (quotations omitted). “Although the district court may not ‘simply

rubber-stamp an injunction whenever the FTC provides some threshold evidence,’ the FTC ‘does

not need detailed evidence of anticompetitive effect at this preliminary phase.’ Instead, ‘at this

preliminary phase it just has to raise substantial doubts about a transaction.’” OSF Healthcare,

852 F. Supp. 2d at 1074 (quoting FTC v. Whole Foods Mkt., Inc., 548 F.3d 1028, 1035-36 (D.C.

Cir. 2008)) (internal citations omitted).

  I.   LIKELIHOOD OF SUCCESS ON THE MERITS

       A. Geographic Market

       “Determination of the relevant product and geographic markets is ‘a necessary predicate’

to deciding whether a merger contravenes the Clayton Act.” United States v. Marine

Bancorporation, Inc., 418 U.S. 602, 618 (1974) (quoting United States v. E.I. Du Pont De

Nemours & Co., 353 U.S. 586, 593 (1957)); see Tenet Health Care, 186 F.3d at 1051 (“It is . . .



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essential that the FTC identify a credible relevant market before a preliminary injunction may

properly issue.”); OSF Healthcare, 852 F. Supp. 2d at 1075 (“In fact, ‘[a] monopolization claim

often succeeds or fails strictly on the definition of the product or geographic market.’”) (quoting

Tenet Health Care, 186 F.3d at 1052).

       The parties agree that the relevant product market in this case is inpatient general acute

care services sold to commercial payers and their insured members (“GAC services”). (PFF ¶

15; Tr. at 1270:3-6 (defense expert Dr. Thomas McCarthy conceding that the relevant product

market is GAC services).) GAC services are a cluster of medical services that require a patient

to be admitted to a hospital at least overnight. (PFF ¶ 16; Tr. at 78:18-19 [Norton-CIGNA]). See

OSF Healthcare, 852 F. Supp. 2d at 1075 (“This is a ‘cluster market’ of services that courts have

consistently found in hospital merger cases, even though the different types of inpatient services

are not strict substitutes for one another. See FTC v. ProMedica Health Sys., Inc., No. 3:11 CV

47, 2011 WL 1219281, at *54 (N.D. Ohio Mar. 29, 2011) (collecting cases); see also United

States v. Rockford Mem’l Corp., 898 F.2d 1278, 1284 (7th Cir. 1990) (upholding a similar GAC

product market).”).

       The parties do not agree on the boundaries of the relevant geographic market. The

relevant geographic market is “[the] area in which the seller operates, and to which the purchaser

can practicably turn for supplies.” United States v. Phila. Nat’l Bank, 374 U.S. 321, 359 (1963)

(internal quotation omitted). There is no formula for determining the geographic market; rather,

it should be identified in “a pragmatic [and] factual” way and should “correspond to the

commercial realities of the industry.” Brown Shoe Co. v. United States, 370 U.S. 294, 336-37

(1962) (quotation omitted). The geographic market “need not . . . be defined with scientific

precision,” United States v. Connecticut National Bank, 418 U.S. 656, 669 (1974), but it “must



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be sufficiently defined so that the Court understands in which part of the country competition is

threatened,” FTC v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 49 (D.D.C. 1998).

           1. Geographic market analysis of plaintiffs’ expert Dr. Tenn

       Plaintiffs contend that the relevant geographic market, which their expert Steven Tenn

refers to as the “North Shore Area,” includes six of the merging hospitals—Advocate Lutheran

General Hospital, Advocate Condell Medical Center, NorthShore Evanston Hospital, NorthShore

Skokie Hospital, Glenbrook Hospital, and Highland Park Hospitals—as well as Vista East

Hospital, Northwest Community Hospital, Presence Resurrection Hospital, Northwestern Lake

Forest Hospital, and Swedish Covenant Hospital, all of which are located in northern Cook or

southern Lake Counties. (PX 6000, Tenn Report ¶¶ 9-11, 14-15, 18, 72, ECF No. 450-1.) Dr.

Tenn explained in his report that this area of “overlap” between the four NorthShore hospitals

and their two most significant Advocate competitors, Advocate Lutheran General and Advocate

Condell, is the “primary area of competition between Advocate and NorthShore.” (Id. ¶ 17.) In

fact, Dr. Tenn explained that these six party hospitals alone constitute “a relevant geographic

market in which it would be appropriate to assess the transaction.” (Id. ¶ 76.)

       However, in an effort to be “conservative,” he “focus[ed] [his] analysis on a broader

geographic market,” defined to include the five additional competing hospitals. (Id. ¶ 79.) He

selected these hospitals based on their location, including hospitals “with at least a two percent

share in the area from which the relevant Advocate and NorthShore hospitals attract patients”

and hospitals “that overlap with [, i.e., draw patients from the same area as] both Advocate and

NorthShore.” (Tr. at 453:22-23, 463:2-65:12.) He excluded a number of academic medical

centers and specialized hospitals, which he called “destination” hospitals, i.e., Northwestern

Memorial Hospital, Rush University Hospital, University of Chicago Hospital, Loyola



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University Hospital, Cancer Treatment Centers of America, and Lurie Children’s Hospital,

because these hospitals draw patients from not just the North Shore Area but from all over the

Chicago metropolitan area. (Tenn Report ¶ 85 at n.175.) As Dr. Tenn recognized, and as the

evidence showed, patients generally prefer to receive GAC services close to home. (PFF ¶¶ 26-

27, 41.) See FTC v. Advocate Health Care Network, 841 F.3d 460, 474 (7th Cir. 2016) (“FTC”).

Based on this preference, employers require—and insurers must offer—health plans that provide

patients with access to in-network hospitals near where they live. (PFF ¶¶ 26-32.) See FTC,

841 F.3d at 473-75. Thus, although many patients travel from the North Shore Area to these

destination hospitals, Dr. Tenn nevertheless excluded them from his analysis because these

hospitals cannot fulfill the function of providing local care within the North Shore Area. (Tr. at

454:4-9 (“Here the competitive concern is that Advocate and NorthShore are substitutes for

commercial payers when they’re putting together provider networks in the northern Chicago

suburbs. The destination hospitals . . . are not located in the northern Chicago suburbs and,

therefore, do not fulfill this role for commercial payers.”).)

       After identifying the market, Dr. Tenn tested whether it passed the hypothetical

monopolist test; that is, whether a hypothetical monopolist that owned all of the hospitals in the

market could profitably impose a small but significant non-transitory increase in price (“SSNIP”)

(i.e., 5% or more) at one or more of the merging hospitals due to the hypothetical monopolist’s

“internalization of substitution” in the region. (PFF ¶ 33; Tenn Report ¶¶ 57, 71.) See DOJ/FTC

Horizontal        Merger    Guidelines      §§     4,     4.1.1,   4.2,   4.2.1,   available     at

https://www.ftc.gov/sites/default/files/attachments/merger-review/100819hmg.pdf     (last   visited

Jan. 31, 2017).




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       Tenn measured the level of substitution by calculating diversion ratios, that is, the

fraction of patients who use one hospital for GAC services that would switch to another hospital

if their first-choice hospital were no longer available. (Tenn Report ¶¶ 95-98.) He determined

that 48% of the patients admitted to one of the eleven hospitals in the North Shore Area would

substitute to one of the other hospitals in the North Shore Area if their chosen hospital were no

longer available. (Id. ¶ 99.)

       This “level of intra-market diversion,” Tenn opined, “is sufficiently high . . . to pass the

hypothetical monopolist test.” (Id. ¶ 100.) Dr. Tenn concluded that he had identified a relevant

geographic market.

           2. Geographic market: procedural history

       In its prior opinion in this case, this Court rejected Dr. Tenn’s analysis and denied the

motion for preliminary injunction because it found that plaintiffs did not prove a relevant

geographic market. In particular, the Court found that Dr. Tenn provided no compelling reason

for excluding destination hospitals from the geographic market, considering that (a) the very

diversion ratios he calculated show that patients consider some destination hospitals, particularly

Northwestern Memorial, to be close substitutes for some of the merging hospitals, and (b) the

evidence did not unequivocally support Dr. Tenn’s assumption that patients prefer to receive

hospital care near their homes. (See Am. Mem. Op. & Order, June 20, 2016, ECF No. 484.)

       The Seventh Circuit reversed and remanded for reconsideration of the motion for

preliminary injunction, explaining that “the geographic market question is . . . most directly

about ‘the likely response of insurers,’ not patients, to a price increase,” because “[i]nsured

patients are usually not sensitive to retail hospital prices, while insurers respond to both prices

and patient preferences.” FTC, 841 F.3d at 471 (quoting Saint Alphonsus Med. Ctr.-Nampa Inc.



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v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 784 (9th Cir. 2015)). As a result, “insurers are the

most relevant buyers.” FTC, 841 F.3d at 475. Although Dr. Tenn’s diversion ratios showed that

certain hospitals outside of the North Shore Area, particularly Northwestern Memorial, draw

large numbers of patients from the North Shore Area, this fact did not fatally undermine Dr.

Tenn’s geographic market analysis because “measures of patient substitution like diversion ratios

do not translate neatly into options for insurers.” Id. Insurance executives “unanimous[ly]”

testified that “an insurer’s network must include either Advocate or NorthShore to offer a

product marketable to employers.” Id. at 474. This testimony was supported by “strong, not

equivocal” evidence that patients generally prefer to receive hospital care locally. Id.

Economists studying hospital markets have long recognized the “silent majority fallacy”: even if

evidence shows that some patients are willing to travel for care, it does not follow that more

would do so to avoid a price increase; it may be that there is a “silent majority” that would pay

supra-competitive prices to receive hospital services close to home rather than travel. Id. at 470.

Thus, even if it is true that large numbers of patients who live in the North Shore Area travel

outside the Area to hospitals such as Northwestern Memorial for GAC services, it is error “to

focus on the patients who leave a proposed market instead of on hospitals’ market power over

the patients who remain, which means that the hospitals have market power over the insurers

who need them to offer commercially viable products to customers who are reluctant to travel

farther for general acute hospital care.” Id. at 476.

       On remand, the parties take dramatically different approaches to the geographic market

issue. Plaintiffs’ position is that the Seventh Circuit’s opinion all but resolves the issue. The

Seventh Circuit held that there is strong evidence that an insurer would not be able to sell a plan

that does not include either Advocate or NorthShore. Insurers unanimously testified to that



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effect, and the record as a whole supports that testimony because “the overwhelming weight of

the evidence” shows “(1) the large proportion of patients who prefer hospitals close to their

homes and (2) the resulting need for insurers to offer networks that include community hospitals

close to their customers’ homes.” Id. at 475 n. 4. It follows inevitably from the Seventh

Circuit’s opinion, plaintiffs argue, that because many patients in the proposed North Shore Area

would have limited or no access to nearby hospitals if their insurance plan did not provide access

to any of the eleven hospitals in the North Shore Area, insurers would surely pay a SSNIP in

order to be able to offer patients in that region a health plan that includes access to local

hospitals. According to plaintiffs, there is no need on remand to delve into the details of Dr.

Tenn’s analysis or reduce this case to a “battle of the experts” with respect to determining the

relevant geographic market; the Seventh Circuit’s decision is conclusive on that issue.

       Defendants argue that, while insurer representatives may have testified that they cannot

sell a plan that excludes both Advocate and NorthShore, they also offered some contrary

testimony (see DFF ¶¶ 259-60; Tr. at 280:9-14 [Hamman-BCBSIL]), and it falls to this Court to

make “credibility determinations about inconsistent testimony.” (Defs.’ Post-Remand Resp. Br.

at 4.) According to defendants, some insurers, especially BCBSIL, which sees the defendants’

proposed merger as a threat to its own business, may have their own competitive reasons for

opposing the defendants’ proposed merger, and therefore the Court should view the testimony of

these insurers’ representatives skeptically. (See DFF ¶¶ 211-17.) Because, defendants argue, the

insurers’ testimony that they cannot sell a plan that excludes both Advocate and NorthShore is

inconsistent, biased, and ultimately not credible, this Court must rely on expert testimony in

order to define the relevant geographic market. Further, defendants renew their attack on Dr.

Tenn’s analysis, arguing that the Seventh Circuit’s opinion in this case reveals Dr. Tenn’s



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reliance on diversion ratios to be a fatal flaw. Defendants argue that if it is error to rely on Dr.

Tenn’s patient-centric diversion ratios because insurers, not patients, are the “most relevant

buyers,” then it must be error to accept Dr. Tenn’s conclusions with regard to the scope of the

geographic market and the question of whether a hypothetical monopolist could impose a SSNIP

because they, too, depend heavily on diversion ratios.

        The Court shares some of defendants’ concerns about the credibility of the insurers’

testimony, which may indeed be self-serving, but even taking their testimony with a grain of salt,

the record as a whole supports the view that insurers genuinely believe that a plan that excludes

Advocate and NorthShore is not viable in the North Shore Area. Defendants point to BCBSIL’s

“Project Remedy,” a recent attempt by BCBSIL to



                                                                        (See DFF ¶¶ 259-62.) But

there is no inconsistency in BCBSIL’s testimony on this point. True, in his testimony about

Project Remedy, Mr. Steve Hamman, a BCBSIL executive, testified that

                                                                                but he went on to

clarify that,



                                                                                             (Tr. at

280:5-281:3 [Hamman-BCBSIL].) Defendants argue that the Seventh Circuit “did not examine”

this testimony (Defs.’ Post-Remand Resp. Br. at 4), but it would have added nothing to its

analysis if it did; the Seventh Circuit specifically recognized that a plan that excluded

NorthShore and Advocate might well be successful with patients outside the North Shore Area.

See FTC, 841 F.3d at 474 (“One company offers a network in the Chicago area without either of



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the merging parties, but . . . fewer than two percent of those individual members live near

NorthShore's hospitals.”). (See also PFF ¶ 77.)

       Defendants cannot undermine plaintiffs’ proposed geographic market definition simply

by showing that a plan that excludes both Advocate and NorthShore from its network might

attract some enrollees in the North Shore Area because some—or even many—patients are

willing to travel outside the market for hospital care. They also have to establish that “enough

patients would buy a health plan . . . with no in-network hospital in the proposed geographic

market” and instead “turn to hospitals outside the relevant market,” FTC v. Penn State Hershey

Medical Center, 838 F.3d 327, 343 (3d Cir. 2016)), that insurers are unlikely to agree to pay

supra-competitive prices to hospitals in the Area in order to be able to offer attractive products to

patients who live within the geographic market but might be “reluctant to travel [outside it] for

general acute hospital care,” FTC, 841 F.3d at 476. Testimony that an insurer has actually

offered a commercially-successful healthcare plan that enrolled large numbers of patients within

the North Shore Area but did not include Advocate or NorthShore in its network might have

sufficed. Cf. Penn State Hershey, 838 F.3d at 343. But the defendants offered no such testimony

in this case, nor did they offer any evidence to demonstrate that a healthcare plan that excluded

both Advocate and NorthShore would be successful among patients living in the North Shore

Area. In the absence of any such evidence, as the Seventh Circuit explained, the fact that some

patients are willing to travel outside the North Shore Area for GAC services does not suggest

that there is no “silent majority” in the North Shore Area that is reluctant to travel and that the

hospitals in the Area can use as leverage to charge supra-competitive prices.




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       In any case, even if the Court indulges defendants and undertakes another close

examination of Dr. Tenn’s work, it must conclude, in light of the guidance the Seventh Circuit

has provided, that Dr. Tenn has appropriately delineated the relevant geographic market.

           3. Tenn’s reliance on diversion ratios

       Defendants’ central argument with respect to Dr. Tenn’s analysis is that the Seventh

Circuit’s opinion in this case reveals his reliance on diversion ratios to be a fatal flaw. If this

Court erred by relying on Dr. Tenn’s diversion ratios to reject his geographic market analysis

because insurers, not patients, are the most relevant buyers, and “measures of patient substitution

like diversion ratios do not translate neatly into options for insurers,” FTC, 841 F.3d at 475, then,

defendants reason, it must be error to rely on Dr. Tenn’s analysis at all, considering that the

entire analysis is based on diversion ratios.

       But the Court agrees with plaintiffs that “the Seventh Circuit did not hold that it is

inappropriate to consider patient-level diversions” (Pls.’ Post-Remand Resp. Br., at 5, ECF No.

577); it merely criticized how defendants and this Court interpreted them. A relevant geographic

market need not include every firm that competes for business in the vicinity; it need only

include those competitors that would “substantially constrain” the merged firm’s “price-

increasing ability.” FTC, 841 F.3d at 469 (citing AD/SAT, a Div. of Skylight, Inc. v. Associated

Press, 181 F.3d 216, 228 (2d Cir. 1999)). The purpose of the diversion ratios is to show

whether the level of substitution between hospitals in the North Shore Area is high enough that,

should a merger occur, the merged entity could profitably impose a SSNIP. As Dr. Tenn

explained, “[t]he predicted post-merger price increase is higher for larger diversions between the

parties, since there is more substitution for the combined firm to internalize post-merger.”

(PX06020, Tenn Rebuttal Report ¶ 25 n.38, ECF No. 450-4.) In other words, if the diversion



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ratios between merging hospitals are higher, then a price increase at a given merging hospital,

assuming steady prices at nearby hospitals, would theoretically drive fewer patients away from

the merged entity’s system because many patients would only flee to another merging hospital.

(Tenn Report, ¶ 178; Tenn Rebuttal Report, ¶ 27.)

       The Seventh Circuit nowhere stated or suggested that Dr. Tenn’s use of diversion ratios

for this purpose is improper. It merely cautioned that even if diversion ratios show that a

proposed geographic market excludes significant competitors, it does not necessarily follow that

the geographic market is defined too narrowly, as Dr. Tenn himself recognized. (See Tenn

Report ¶ 100 n.194.)

           4. Whether “closer substitutes” should have been included

       Finally, defendants argue that Dr. Tenn failed to include any “closer substitutes” for the

hospitals in the North Shore Area, particularly Rush, Lurie, Northwestern Memorial, and

Presence St. Francis (a hospital very near NorthShore Evanston but excluded by Dr. Tenn

because it did not compete significantly with any of the Advocate hospitals in the vicinity),

before concluding that the market passed the hypothetical monopolist test. While there is some

support in the record for inclusion of Northwestern Memorial, which the diversion ratios show to

be a close substitute for some of the NorthShore hospitals, and Presence St. Francis, only three

miles from NorthShore Evanston, defendants have admitted that even if those two hospitals are

included in the geographic market, the post-merger market concentration would still be so high

that the merger would be presumptively unlawful. (Tr. at 1890:5-1891:11.) Further, as the

Seventh Circuit also recognized, Northwestern Memorial is a destination hospital that is not

located in or near the North Shore Area, so it cannot fulfill commercial payers’ need for a

hospital providing local care in the North Shore Area. FTC, 841 F.3d at 475 n.5. This is also



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true of Lurie and Rush, and in any case, the Seventh Circuit did not find “comparable evidence

about those centers as close substitutes for the hospitals of the merging parties,” id., and neither

does this Court. While they may draw patients from the North Shore Area, they remain

“destination” hospitals unable to fulfill the need for local GAC services in the North Shore Area,

and the data does not support the argument that they are “closer” substitutes for the defendant

hospitals, from the standpoint of insurers, than other hospitals in the North Shore Area.

       In light of the guidance of the Seventh Circuit and based on Dr. Tenn’s persuasive

analysis, the Court finds that plaintiffs have proven that the relevant geographic market is the

North Shore Area.

       B. Effect on Competition

       After proving the relevant market, plaintiffs must answer the “ultimate question under

[section 7 of the Clayton Act]: whether the effect of the merger ‘may be substantially to lessen

competition’ in the relevant market.” Phila. Nat’l Bank, 374 U.S. at 362.

           1. Market Concentration

       Plaintiffs may make a prima facie case of likely harm to competition by “showing that

the proposed merger would result in ‘a firm controlling an undue percentage share of the relevant

market’ as well as ‘a significant increase in the concentration of firms in that market.’” OSF

Healthcare, 852 F. Supp. 2d at 1074 (quoting Phila. Nat’l Bank, 374 U.S. at 363). If they can

make this showing, plaintiffs establish that the merger is “inherently likely to lessen competition

substantially,” and it “must be enjoined in the absence of evidence clearly showing that the

merger is not likely to have such anticompetitive effects.” Phila. Nat’l Bank, 374 U.S. at 363. In

other words, a “presumption of illegality arises.” OSF Healthcare, 852 F. Supp. 2d at 1074

(citing Univ. Health, 938 F.2d at 1218).



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         Under the Department of Justice and FTC’s Horizontal Merger Guidelines, a useful

measure of market concentration is the Herfindahl-Hirschman Index (“HHI”), which is

calculated by summing the squares of the individual firms’ market shares. Merger Guidelines §

5.3. A market is “highly concentrated” if the HHI is above 2,500. Id. “Mergers resulting in

highly concentrated markets that involve an increase in the HHI of more than 200 points will be

presumed to be likely to enhance market power,” although the presumption “may be rebutted by

persuasive evidence showing that the merger is unlikely to enhance market power.” Id.

         NorthShore and Advocate have a 31% and 29% share of the North Shore Market,

respectively. (PFF ¶ 44.) Merged, they would control 60% of the market,                             followed      by

Northwest Community (14%), Swedish Covenant, (8%), Vista East (6%), Northwestern Lake

Forest (6%), and Presence Resurrection (6%). (Id.) Based on these market shares, the pre-

merger HHI of the North Shore Area is 2,161. (Id. ¶ 45.) The merger would increase the HHI

by 1,782 points to 3,943. (Id.)

         Thus, the market concentration that would result from the merger is well beyond the level

that the Merger Guidelines identify as presumptively likely to enhance market power. (Id.; Tenn

Report ¶¶ 112-115.)2 Dr. Tenn’s market concentration calculations, which defendants do not

seriously challenge, are sufficient to establish the presumption of illegality. (Pls.’ Proposed

Conclusions of Law (“PCL”) ¶ 3, ECF No. 446.)

             2. Dr. Tenn’s Analysis of Anticompetitive Effects

         Although plaintiffs have established the presumption of illegality by establishing that the

merger would cause high levels of market concentration, they do not rely solely on market

concentration to establish that the merger would harm competition. See FTC v. Sysco Corp., 113

2
  Dr. Tenn performed additional alternative calculations of market concentration as a check on his results, and under
all of the various approaches, the increase in market concentration was great enough to make the merger
presumptively unlawful. (Tenn Report ¶¶ 116-122.)

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F. Supp. 3d 1, 61 (D.D.C. 2015) (citing United States v. Baker Hughes Inc., 908 F.2d 981, 992

(D.C. Cir. 1990)) (“The Herfindahl–Hirschman Index cannot guarantee litigation victories.”).

Among other evidence, they offer additional testimony of Dr. Tenn, who, after defining the

relevant geographic market, proceeded to analyze the potential anticompetitive effects the

 merger might cause in the form of a rise in reimbursements to defendants due to a price increase.

       Based on the diversion ratios and pricing data from the relevant hospitals, and assuming

that the range of variable cost margins for commercial admissions (i.e., the difference between

revenue and variable costs) at NorthShore hospitals was comparable to the range at Advocate

hospitals, Dr. Tenn calculated that the merger would cause an average price increase of 8%

across the six party hospitals in the North Shore Area, resulting in an annual increase of inpatient

GAC reimbursement paid to those hospitals of about $45 million. (Tenn Report ¶¶ 178-84.)

       Plaintiffs barely mention this anticompetitive effects evidence on remand, focusing

instead on the Seventh Circuit’s discussion of the geographic market and on the uncontroverted

market concentration data, but defendants devote considerable space in their supplemental briefs

to challenging Dr. Tenn’s model. Because the Court has found that the market concentration

evidence alone establishes the presumption of illegality, the burden of disproving anticompetitive

effects falls on defendants, and they cannot logically carry this burden by attacking evidence that

was unnecessary to establish the presumption in the first place. Additionally, defendants ignore

the voluminous factual evidence, including “ordinary course” documents, showing that Advocate

and NorthShore are close competitors who dominate the North Shore Area (PFF ¶¶ 47-52, 58-

66) and whose merger would necessarily entail substantial harm to competition, see Sysco, 113

F. Supp. 3d at 61-62, 65-66, 69-70, which bolsters the presumption of anticompetitive effects

and Dr. Tenn’s conclusions. In light of all this other evidence, the Court need not address



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defendants’ criticisms of Dr. Tenn’s opinion of the merger’s likely anticompetitive effects.

Nevertheless, as the following discussion will demonstrate, even if plaintiffs were forced to rely

on the anticompetitive effects portion of Dr. Tenn’s opinion, Dr. Tenn’s analysis is sound, and

defendants’ criticisms fail.

               a. Inputs to Dr. Tenn’s analysis

        Dr. Tenn’s model relied on three principal inputs: diversion ratios, contribution margins,

and pricing data. The Court has already rejected defendants’ argument that Dr. Tenn’s use of

diversion ratios impaired his analysis, but defendants take issue with the other two inputs as well.

        Defendants argue that Dr. Tenn should not have used contribution margins, or as Dr.

Tenn calls them, variable cost margins, as an input in his analysis because high contribution

margins may actually be driven not by high prices and profits but by high fixed costs, and

therefore should not be “conflat[ed] with market power.” (Defs.’ Post-Remand Br., at 6, ECF

No. 557.) According to defendants, Dr. Tenn should instead have used operating margins, which

account for fixed costs.

       Dr. Tenn explained that his “model predicts that, when margins are higher [i.e., when the

difference between revenue and variable costs is higher], there is greater incentive to raise price

post-merger because the substitution that would be internalized would be more profitable.”

(Tenn Report ¶ 179.) If margins are zero, there is no incentive to increase price because “no

additional profit would be internalized.” (Id.) He did not use operating margin because the

measure he used, “variable cost commercial margin for inpatient services,” which excludes not

only fixed costs but also “revenue and costs for non-commercial patients [such as Medicare,

Medicaid, HMO or workers’ compensation patients, all of whom fall outside the relevant product

market] as well as other services (e.g. outpatient services), . . . captures the profit loss for those



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patients who respond to a price increase by switching to alternative hospitals.” (Id. at n.300.)

The Court agrees with plaintiffs and Dr. Tenn that this measure is appropriate because it is

tailored to measuring effects related to the GAC services that this case concerns. But in any

case, defense expert Dr. Thomas McCarthy admitted that the revised margin figures defendants

advocate using would lead only to a “slightly lower estimate of the post-merger price increase of

6.9 percent,” which is still above the 5% SSNIP threshold. (DX 5000, McCarthy Report, ¶ 104

n.159, ECF No. 452-5.)

         Defendants also argue that Dr. Tenn erred by using relative pricing as the final input in

his model, rather than actual claims data, as the defense experts did. They make much of this

difference, but they do not adequately explain how the use of this data flawed or skewed Dr.

Tenn’s analysis. Dr. Tenn relied on relative pricing data that came from Advocate (Tenn Report

¶ 180), and defendants do not claim that the data was erroneous.

         The Court finds no error in Dr. Tenn’s use of any of the three inputs in his analysis.

                  b. Dr. Tenn’s model generally

         Defendants argue that, even if the inputs Dr. Tenn plugged into his model are not

inappropriate individually, the model as a whole is flawed in a number of ways.

                          i.    Price increase every time?

         Defendants argue that Dr. Tenn’s model has no predictive power because it will always

produce a price increase. Dr. Tenn admitted that his model always predicts a price increase, if

diversion ratios and contribution margins are positive.3 But that proviso makes all the

difference, as Dr. Tenn demonstrated by applying his method to a hypothetical merger between
3
  This is because, as described above in Parts I.A.3 & I.B.2.a., (1) if diversion ratios are positive, then there is an
incentive to raise prices because any lost volume at one party hospital is likely to be recaptured by another (i.e.,
substitution will be “internalized”), and (2) if contribution margins are positive (i.e. revenue is greater than the cost
of providing services to the patient), then again there is an incentive to raise prices because it will be profitable to
provide services to patients at one party hospital who are fleeing a hypothetical price increase at another merging
hospital.

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NorthShore and Centegra, in McHenry County, far to the west of NorthShore. The diversion

ratios between NorthShore and Centegra are low because those systems are not close substitutes

due to the distance between their hospitals, so his method predicted a low price increase that was

too small to be significant for antitrust purposes. (Tenn Rebuttal Report ¶ 52.) This shows that

Dr. Tenn’s method is useful because it reveals how strong the merged entity’s profit-maximizing

incentives to raise price will be based on their levels of substitution and potential profitability.

The fact that the method predicts at least a small price increase whenever the inputs are positive

does not represent a weakness.

                    ii.    Failure to address whether SSNIP would be profitable despite volume
                           loss?

       Defendants argue that Dr. Tenn’s analysis is deficient because it does not           address

whether imposing a SSNIP would be profitable in light of the volume loss that would follow

from any predicted price increase. But the Court has already explained, Dr. Tenn does exactly

that by calculating, based on the levels of substitution between merging hospitals, that a price

increase could be profitable in part because there would be little overall volume loss to the

system. This criticism is without merit.

                    iii.   Inconsistent with commercial realities?

       Defendants argue that Dr. Tenn’s analysis is inconsistent with commercial realities in the

hospital industry. Hospitals do not unilaterally set prices for a given hospital in the way Dr.

Tenn describes; rather, hospital systems settle on prices by way of bilateral bargaining with

insurers on a system-wide basis. (See DFF ¶¶ 74-76; McCarthy Report ¶ 97.) Defendants argue

that Dr. Tenn’s price-setting model, geared toward predicting when a merged hospital system

might have an incentive to raise prices at a particular hospital, is inconsistent with the

commercial reality that hospital systems do not set prices for each hospital on an individualized


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basis. According to defendants, Dr. Tenn was unable to cite a case in which his model had

accurately predicted a price increase following an actual, real-world merger, and in fact,

defendants argue, there have been documented cases in which a hospital merger resulted in lower

prices. (See Defs.’ Post-Remand Br., at 9-10, ECF No. 557.)

       Defendants may be correct that many hospital mergers actually result in lower prices, but

it is defendants’ burden to demonstrate that this particular merger will be one of those that has no

anticompetitive effects. Defendants’ experts focused more heavily on explaining their own

bargaining-based models (which the Court will discuss in more detail below) than on

demonstrating why Dr. Tenn’s is inadequate. Their criticisms of Dr. Tenn’s anticompetitive

effects analysis were desultory and superficial, and therefore unconvincing. (See, e.g., Tr. at

1512:3-513:25 [Eisenstadt]; Tr. at 1224:7-8 [McCarthy].)

       Dr. Tenn repeatedly explained that his analysis relied on a price-setting model because it

is easier to understand than a bilateral bargaining-based model and certain economic literature,

including some that specifically addressed the hospital industry, shows that the price-setting

model and the bilateral bargaining model will “generate identical predicted post-merger price

increases.” (Tenn Rebuttal Report ¶ 16; see id. ¶¶ 14-15, 17; Tenn Report, ¶¶ 81 n.167, 177.) In

fact, according to a recent article, “one way to think about the posted price model is that it is a

reduced form way of capturing a complicated underlying bargaining relationship.” (Tenn

Rebuttal Report ¶ 15 (citing Martin S. Gaynor, A Structural Approach to Market Definition with

an Application to the Hospital Industry, 61 J. Indus. Econ. 243, 261 (2013)).) Dr. Tenn used a

price-setting model only “for ease of exposition,” and to improve the “simplicity and

transparency” of the analysis (Tenn Report ¶ 177), because “non-economists are (generally)

more familiar with environments where suppliers set price (e.g., milk sold to consumers in the



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supermarket) compared to environments where suppliers negotiate price with their customers

(e.g., hospital system contracting with MCOs)” (Tenn Rebuttal Report ¶ 17). Defendants do not

directly dispute this explanation. (See id. ¶ 18; Tr. at 1347:20-25 [McCarthy].)

       Defendants questioned the strength of the support Dr. Tenn cited for his position that a

price-setting model and a bargaining model generate similar results (see, e.g., Tr. at 1512:3-

513:25 [Eisenstadt]; see generally DFF ¶¶ 235-47), and Dr. Tenn’s belief that his price-setting

model somehow illustrates the anticompetitive effects of this transaction more clearly, although

it conforms to the actual functioning of the market in question less closely, is certainly

counterintuitive. But it is no more counterintuitive than defendants’ experts’ conclusion,

discussed further below, that even if willingness to pay for access to defendants’ systems

increases, the merger will result in no price increase and possibly even a price decrease (see PFF

¶¶ 70, 74-75, 82-87). Defendants do not directly engage with and dispute Dr. Tenn’s explanation

for his use of the price-setting model, and the Court will not dismiss it based only on the

relatively superficial criticisms defendants have made. The Court finds that Dr. Tenn has

persuasively demonstrated that the merger is likely to cause a significant price increase resulting

in a loss to consumers.

           3. Defendants’ Rebuttal of Anticompetitive Effects

       Defendants attempt to rebut plaintiffs’ evidence of anticompetitive effects by relying on

(a) insurer testimony and (b) their experts’ opinions.

               a. Insurer testimony

       Defendants contend that four of the Chicago area’s six largest insurers—Aetna, United,

Humana, and Land of Lincoln—testified that defendants’ merger will strengthen competition and

benefit consumers by allowing defendants to provide lower-cost, higher-quality care. (Defs.’



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Post-Remand Br., at 18, ECF No. 458.) Plaintiffs respond that most of the insurance executives

who testified at the hearing expressed concern as well as support for the merger, and to the extent

they expressed support, they admitted that they lacked a factual basis for it. (Pls.’ Post-Remand

Resp. Br., at 9, ECF No. 577.) Further, BCBSIL, the largest insurer in the area, is vehemently

opposed to the merger. (PFF ¶ 74.)

           The Court agrees with plaintiffs that the insurers’ support for the merger was equivocal,

unenthusiastic, and without a factual basis. In some cases, what lukewarm support the insurers

mustered was expressed in terms of hope rather than expectation. (See, e.g., PX03004 ¶ 19

(Humana is “hopeful”); PX03005 ¶ 16 (Land of Lincoln is “hopeful”).) Moreover, one insurer,




                                                    (DFF ¶ 201.) The insurers are not in a position

to know precisely how the merger will affect consumer welfare, and to the extent the insurers

expressed support for the merger, for all the evidence shows, they, like         , might have done

so because they believed the merger would improve their own competitive positions. In short,

the insurer testimony on this point is not credible and does not carry the weight defendants would

give it.

                  b. Defense experts McCarthy and Eisenstadt

           Defendants also contend that the merger will not cause a significant price increase, as

shown by their economic experts, Drs. McCarthy and Eisenstadt, whose methodology,

defendants argue, conforms more closely to the commercial realities of the hospital industry than

Dr. Tenn’s because it takes account of the parties’ relative bargaining strength. Dr. McCarthy



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and Dr. Eisenstadt used the Hospital Merger Simulation Model, developed by FTC economists,

which measures the relationship between actual prices negotiated by hospital systems and

“willingness to pay” (“WTP”), a quantitative measure of a hospital system’s desirability, or the

“willingness to pay” for access to a system. (See DX6000, Eisenstadt Report ¶ 73, ECF No. 452-

6; DFF ¶¶ 224-29; see generally Tenn Rebuttal Report ¶ 32.) The experts concluded that a

significant price increase was unlikely; in fact, Dr. McCarthy calculated that, by one measure,

the merger would lead to a price decrease of 3.3 percent. (DFF ¶¶ 230-31.) Dr. Eisenstadt

concluded that the worst-case scenario was a moderate price increase leading to a gain to

defendants of $11 million—approximately one-fifth the size of Dr. Tenn’s predicted

reimbursement increase of $45 million. (Id. ¶ 232.)

       But in rebuttal, Dr. Tenn explained that these results are implausible and inconsistent

with economic theory. The defense experts’ work “impl[ies] a negative relationship between

price and WTP, i.e., higher WTP is associated with lower prices”; an increase in a hospital

system’s bargaining leverage, as measured by WTP, should lead to an increase in price, or at a

minimum, no change, but certainly not to a price decrease. (Tenn Rebuttal Report ¶ 35.) Dr.

Tenn suggests that the defense experts likely failed to control for other important, unknown

variables (an error he calls “endogeneity bias”), or they improperly measured WTP, inevitably

skewing their analysis of its impact on price (an error he calls “measurement error bias”). (Id. ¶¶

37-50.) To demonstrate the unsuitability of the defense experts’ mode of analysis, Dr. Tenn

simulated a merger of all 48 hospitals that Dr. McCarthy identifies as competing with at least one

of defendants’ hospitals. (See McCarthy Report ¶¶ 61-66.) Dr. Tenn calculated that, using the

defense experts’ mode of analysis, the post-merger price change would range from a 33%




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decrease, which is patently absurd, to a modest 6% increase, which is too small to be plausible

for such a large area. (Tenn Rebuttal Report ¶¶ 51-54.)

       Dr. Tenn’s critique is convincing. The Seventh Circuit cited a laundry list of economic

literature demonstrating that hospital mergers in concentrated markets tend to lead to significant

price increases. FTC, 841 F.3d at 472-73. Defendants now ask this Court, faced with choosing

between an expert economic analysis that is consistent with this literature and another that is

inconsistent with it, to choose the one that is inconsistent with the literature the Seventh Circuit

has cited, without adequately explaining why their merger is an outlier. “If anything,

defendants’ argument only reinforces the conclusion that there are serious and substantial

questions requiring further determination by the FTC at the trial on the merits.” OSF Healthcare

Sys., 852 F. Supp. 2d at 1086 (“At this stage of the proceedings, the court is only determining

whether there are ‘questions going to the merits so serious, substantial, difficult and doubtful as

to make them fair ground for thorough investigation, study, deliberation and determination by

the FTC in the first instance and ultimately by the Court of Appeals.’”) (quoting Univ. Health,

938 F.2d at 1218).

       Defendants argue that, even if Dr. Tenn is correct that the merged entity would have an

incentive to raise prices if the competitive landscape remained otherwise unchanged, his

conclusion is of little usefulness because the competitive landscape would not remain

unchanged. Competitors would reposition to attract customers within the North Shore Area,

particularly by opening outpatient offices in the region. Northwestern and Presence, in

particular, are already taking steps in that direction. (See DFF ¶¶ 248-58.) There was copious

evidence that once patients establish a relationship with a physician at an outpatient office, that

physician is able to influence where her patients will go for inpatient services. (See, e.g., Tr. at



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345:19-46:10 (Dechene of Northwestern testifying that outpatient facilities and doctor’s offices

are “front doors” to the hospital); id. at 1116:14-18 (Beck of United testifying that “a member’s

physician relationship influence[s] where they seek hospital care”); JX 3, Bagnall Dep. at 37:2-8,

ECF No. 453-3 (testifying on behalf of University of Chicago Medical Center that “patients

don’t shop for inpatient providers, they shop for physicians” and “it’s the physician who makes

the decision of what inpatient facility that patient goes to”); JX 19, Maxwell Dep. at 94:1-24,

ECF No. 454-9 (testifying on behalf of Humana that hospitals “extend their geographic breadth”

by opening outpatient centers and doctor’s offices further from the hospital, and the doctor

“plays a significant role [in determining] where [a] patient goes to seek care”).)

       The Court recognizes that defendants’ repositioning argument is alluring. The merging

hospitals in the North Shore Area are ringed by non-party competing hospitals, especially the

five Dr. Tenn included in the North Shore Area; it is tempting to believe that these numerous

hospitals could reposition to attract patients from the merging hospitals’ service areas, or to

present themselves to insurers as viable alternatives to the merging hospitals, if the merged entity

were to attempt to impose a price increase. But this argument is merely another version of an

argument that the Seventh Circuit rejected, the argument that there will be no anticompetitive

price effects because the diversion ratios show that patients within the North Shore Area view

hospitals outside the area as close substitutes. Regardless of this alleged repositioning, the

Seventh Circuit explained that there is overwhelming evidence that insurers believe that their

networks generally must include either Advocate or NorthShore in order to be successful

because many patients are not willing to travel outside their immediate geographic area for

inpatient hospital care, and insurers must be responsive to the preferences of these patients who

are not willing to travel by offering them a local in-network option. FTC, 841 F.3d at 474-76.



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While hospitals outside or on the fringes of the North Shore Area may be able to draw increasing

numbers of patients from within the Area via their repositioning efforts, the merging hospitals

will nevertheless “have market power over the insurers who need them to offer commercially

viable products to customers who are reluctant to travel farther for [GAC services].” Id. at 476.

Viewing the evidence in light of this guidance from the Seventh Circuit, the Court cannot accept

that the repositioning of competitors will offset or prevent the anticompetitive effects that Dr.

Tenn has identified without stronger evidence than the generalized testimony defendants have

offered.

           4. Efficiencies

       Although the defense has never been sanctioned by the Supreme Court, the Horizontal

Merger Guidelines and some lower courts recognize that defendants in a horizontal merger case

may rebut the government’s prima facie case by presenting evidence of efficiencies offsetting

the anticompetitive effects. See FTC v. H.J. Heinz Co., 246 F.3d 708, 720 (D.C. Cir. 2001).

Where the merger would result in high market concentration levels, as in this case, the

defendants must provide proof of “extraordinary efficiencies” based on a “rigorous analysis” that

ensures that the proffered efficiencies represent more than “mere speculation and promises about

post-merger behavior.” See id. at 720-21. Further, the efficiencies must be “merger-specific,”

i.e., “they must be efficiencies that cannot be achieved by either company alone.” Id. at 721-22.

Defendants contend that the merger will result in significant efficiencies providing substantial

benefits to consumers and offsetting the anticompetitive effects. Plaintiffs respond that

defendants have not sufficiently proven the claimed efficiencies.




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               a. Physician reimbursement savings

       As an initial matter, once the merger is consummated, NorthShore will immediately

move to Advocate’s lower reimbursement rates, as required by Advocate’s contracts with

insurers. This change will result in immediate savings of approximately $30 million to insurers

(and by extension, to consumers).

       Plaintiffs correctly explain that these savings are at best a temporary benefit. They do

nothing to alleviate the problem of the merged firm’s market power, which will allow it to raise

prices when it renegotiates its reimbursement rates in the future; therefore, they do not offset the

anticompetitive effects of the merger.

               b. High-Performing Network

       Defendants claim that, once the merger is consummated, the merged entity ANHP will be

able to offer an improved version of Advocate’s narrow HPN product. Advocate has

experimented with Advocate-only networks, offering them to its own employees and to

individuals and small employers as part of the “BlueCare Direct with Advocate” (“BCD”) plan,

in partnership with BCBSIL. These narrow-network plans differ from traditional health

maintenance organization (“HMO”) plans because they consist of one or very few providers,

they do not rely on a primary care physician acting as a “gatekeeper” whom patients must see for

referrals in order to see specialists, and they permit patients to seek care out of network at a fifty-

percent-reimbursement rate. (Tr. at 1420:24-21:13, 1422:6-18 [Sacks-Advocate].) Defendants

claim that Advocate has been informed by insurers and others in the industry that it cannot offer

a commercially-viable Advocate-only narrow network product attractive to large employers in

the Chicago area unless it fills its geographic gap in the north suburban area east of Interstate 94.

Acquiring NorthShore will fill that gap in Advocate’s system. For its part, NorthShore claims



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that it cannot offer an HPN or similar ultra-narrow network without a merger because it lacks

sufficient geographic coverage and it lacks Advocate’s expertise in risk-based contracting and

population health management, which are critical to the success of any such product. (DFF ¶¶

296-304.)

       Defendants claim that, if the merger is consummated, the merged entity will offer its

HPN product at the same price that its current BCD product commands, about 10% below the

price of BCBSIL’s HMO plan. (Id. ¶ 271.) Consumers who enroll in the HPN will receive a

narrow network product with broader geographic coverage than Advocate had previously been

able to offer, at the same low price. Defendants claim that Advocate’s research shows that there

is strong demand for an ANHP HPN, and they calculate that the savings of consumers who

switch from a higher-priced plan to the HPN will fall somewhere between $210 million and $500

million in the aggregate. (Id. ¶¶ 274-95.) According to defendants, even if plaintiffs and Dr.

Tenn are correct that the merged entity will be able to raise prices, costing consumers over $50

million in the aftermath of the merger, the savings the HPN will generate for consumers will

greatly outweigh the price increase.

       Plaintiffs argue that the HPN is not a cognizable, merger-specific efficiency for a number

of reasons.

                     i.   The HPN is already marketable to employers

       The evidence that Advocate cannot sell an Advocate-only narrow network product to

employers without expanding east of I-94 is thin. It primarily consists of insurers’ conclusory

statements to that effect. The record does not show the basis for this belief or whether it is the

product of any serious analysis, and some of the insurers have offered conflicting testimony.

(See Pls.’ Post-Remand Resp. Br. at 9.)       Additionally, these statements are of uncertain



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credibility. Defendants themselves have argued that BCBSIL, for example, views single-

provider narrow networks as a threat to its own business because, if a healthcare provider can

satisfy all of its patients’ healthcare needs by itself, then the patients (or their employer) may as

well pay the provider directly rather than the insurer middleman. (See DFF ¶¶ 211-17.) There is

nothing in the way of expert testimony or economic analysis to support the position that

Advocate cannot offer its Advocate-only narrow network product to employers without

expanding east of I-94, and in fact one employer has quite successfully done so: Advocate itself.

(Tr. at 1420:3-22 [Sacks-Advocate].)

                     ii.   Defendants have not proven that the savings of consumers who switch
                           to the HPN from another plan create an efficiency

       In support of their position that the ANHP HPN will generate massive consumer savings,

defendants offer the opinion of Dr. Eisenstadt, who makes three alternative estimates of these

consumer savings, each calculated by a different method.

       For his first estimate, he compares the price of the proposed HPN to the most similar plan

currently available. Aetna currently offers a plan known as Aetna Whole Health (“AWH”) that

includes Advocate and NorthShore as the only two in-network providers. At present, AWH is

only available as an exchange product for small employers; a broader version of the product is

available to large employers, but this version includes Rush as well. (Eisenstadt Report ¶ 51

n.77.) Dr. Eisenstadt assumes that (a) Aetna will offer AWH to large employers at the same

price it currently charges for the exchange version of the product, (b) the ANHP HPN price will

be the same as the price of Advocate’s current BCD product, as defendants claim it will (see

DFF ¶ 271), and (c) all buyers of the ANHP HPN would otherwise have bought AWH, so each

of them saves the difference in price between AWH and the ANHP HPN (Eisenstadt Report ¶¶

52, 54). Based on all those assumptions, he calculates how many enrollees the HPN would need


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to attract in order for the consumer savings to offset the approximately $50 million in increased

payments to the merging firms from commercial health plans that Dr. Tenn identified,

concluding that the ANHP HPN need only attract about 1% of the Chicagoland employer-

sponsored insurance market. (Id. ¶ 54, Table 4.)

       The trouble with this approach is the assumption that all ANHP HPN enrollees would

otherwise have purchased a large-employer version of AWH offered at the same price, which is

essentially speculative. Aetna does not currently offer AWH as a large employer plan, and there

is no reliable evidence showing how many enrollees the plan would have or where they might

live if it did. There is also no reliable evidence as to how many enrollees an ANHP HPN would

attract, nor is there even evidence of how many enrollees an Advocate-only HPN such as BCD

would attract if it were offered to large employers, which Advocate insists, without explanation,

it cannot do without explaining why. In short, there is no firm evidentiary ground for assuming

that Dr. Eisenstadt’s hypothetical Aetna plan, similar to AWH but offered to large employers,

will ever exist and, if it did exist, that it would be the second choice of all ANHP HPN enrollees.

(Tenn Rebuttal Report ¶ 122.)

       For his second estimate, Dr. Eisenstadt assumes that all customers who enroll in the

ANHP HPN will switch from some plan other than AWH. Because these customers                    are

switching from a plan that offers access to more hospital systems, the net consumer benefit they

get from switching to the HPN will necessarily be smaller than the pure difference in price; the

benefit will have to be reduced to some degree because the customer is sacrificing hospital

options by switching. For such customers, the true value of the consumer benefit derived from

switching to the ANHP HPN could range anywhere from zero to the price difference between

AWH and the HPN, depending on the breadth of the hospital options the consumers give up by



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switching to the narrower HPN. (PFF ¶ 111.) Dr. Eisenstadt assumes that “consumers are

uniformly distributed between these two bounds, so that the average consumer benefit is one half

the price difference” between AWH and the HPN. (Tenn Rebuttal Report ¶ 123.) By that

measure, the ANHP HPN need only attract between 1.7% and 2.7% of the Chicagoland

employer-sponsored insurance market to offset any anticompetitive effects. (Eisenstadt Report,

Table 4.) But there is no basis for the assumption that the consumer benefit that accrues to

customers who switch to the HPN will be uniformly distributed throughout the possible range of

values. (Tenn Rebuttal Report ¶ 123.) Therefore, this estimate is essentially speculative.

       For his third estimate, Dr. Eisenstadt assumes that the consumer benefit equals the price

difference between the ANHP HPN and Blue Precision (“BP”), an HMO plan offered by

BCBSIL. Using the BP plan as a benchmark, Dr. Eisenstadt calculates that the ANHP HPN need

only attract between 2.8% and 4% of the Chicagoland employer-sponsored insurance market to

offset any anticompetitive effects. But Dr. Tenn explains that Dr. Eisenstadt has not adjusted for

the fact that BP is a more desirable plan because it offers wider provider options than just

Advocate and NorthShore, unlike the ANHP HPN. (Id. ¶ 124.) The pure price difference

between BP and the HPN does not alone capture the benefit consumers would realize by

switching from BP to the HPN because the consumers making that switch are not merely paying

less; they are also getting less. Dr. Tenn calculates that on an adjusted basis, the true “upper

bound” of average savings per member per year is approximately $432, which would require

ANHP to enroll at least 124,000 members (or about 3% of the market) in the HPN in order to

offset the anticompetitive effects of the merger, and the true “lower bound” of average savings

per member per year might well be near zero. (Id. ¶ 125.) This differs starkly from Dr.




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Eisenstadt’s calculations of a lower bound of $298 and an upper bound of $1,426.             (See

Eisenstadt Report, Table 4.)

       Dr. Tenn’s critiques of Dr. Eisenstadt’s opinion are persuasive. The upshot is that Dr.

Eisenstadt’s analysis sheds little light on what the true level of savings generated by the HPN

might turn out to be, and Dr. Eisenstadt’s calculations are essentially “uninformative regarding

whether consumer benefits are likely to exceed consumer harm.” (Tenn Rebuttal Report, ¶ 127,

ECF No. 450-4.)

                    iii.   Estimates of HPN enrollment are speculative and unsubstantiated

       Dr. Eisenstadt’s analysis might be helpful at least as a rough estimate of the range of

potential savings if defendants were able to demonstrate with any certainty how many enrollees

the HPN might attract. But they have not provided serious enrollment projections for the

proposed ANHP HPN product. As support for their position that there would be high employer

interest in the ANHP HPN, defendants rely principally on an employer survey conducted by their

expert Dr. Kent Van Liere. (DFF ¶¶ 291-94.) Plaintiffs call this study “highly flawed,” based in

part on the opinion of their own marketing survey expert, Gary T. Ford. (PFF ¶ 115) (citing

PX6023, Ford Report ¶ 78, ECF No. 450-7). Ford explains that the study suffers from a number

of weaknesses. For one, it lacks a control group. It essentially just asks people whether their

employers would be interested in the product, which is suggestive and not probative of where the

respondents live or work or how many might be interested in an Advocate-only HPN (which

Advocate could offer without merging with NorthShore). (Ford Report ¶¶ 29-44.) Further, Ford

explains that the study is methodologically unsound in a number of ways and lacks any sufficient

qualitative basis for its conclusions. (Id. ¶¶ 63-68.)




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       Defendants take issue with some of these criticisms, but in general, the Court finds Ford

and plaintiffs more persuasive. But even if Ford overstated the significance of some of the flaws

he identified, Dr. Van Liere’s study does little more than “gauge employer interest,” as

defendants themselves put it (see DFF ¶ 295), in the ANHP HPN; it does not amount to a

rigorous economic analysis or serious business-planning projection of the potential enrollment in

the HPN. The Court agrees with defendants that they need not demonstrate with certainty the

amount consumers will save, but they must provide firmer, more rigorous proof than they have

offered. See FTC v. ProMedica Health Sys., Inc., No. 3:11 CV 47, 2011 WL 1219281, at *40

(N.D. Ohio Mar. 29, 2011) (“Projections of efficiencies may be viewed with skepticism,

particularly if they are generated outside of the usual business planning process.”); see also

United States v. H & R Block, Inc., 833 F. Supp. 2d 36, 91 (D.D.C. 2011) (“The difficulty in

substantiating efficiency claims in a verifiable way is one reason why courts generally have

found inadequate proof of efficiencies to sustain a rebuttal of the government’s case.”) (internal

quotation omitted)); cf. Sysco, 113 F. Supp. 3d at 82 (even efficiencies estimates that are the

“product of meticulous analysis and planning” based on a “back-breaking amount of

information” may be inadequate if the merging parties cannot demonstrate what amount of the

claimed efficiencies are merger-specific). It may well be possible that the HPN will generate

sufficient enrollment to offset any anticompetitive effects caused by the merger, and perhaps

defendants will be able to show as much at the FTC administrative hearing, but the opinions of

Dr. Eisenstadt and Dr. Van Liere do not establish the level of enrollment in the plan, or the

amount consumers will save by enrolling in the plan, with reasonable confidence.            Their

estimates are essentially speculative and unable to withstand the “rigorous analysis” that the

Clayton Act requires. Heinz, 246 F.3d at 721. Defendants therefore fail to shoulder their burden



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of demonstrating that consumer benefits due to enrollment in the HPN will offset anticompetitive

effects of the merger.

          The Court agrees with plaintiffs that, for the reasons discussed above,4 defendants have

not carried their burden of proving that efficiencies will offset the anticompetitive effects.

Plaintiffs have demonstrated a likelihood of success on the merits.

    II.   BALANCING THE EQUITIES

          Because plaintiffs have demonstrated that they are likely to succeed in demonstrating that

defendants’ merger would cause harm to competition and damage consumers’ interests, they

have “created a presumption in favor of injunctive relief.” Sysco Corp., 113 F. Supp. 3d at 86.

Nevertheless, the Court must weigh the equities to determine whether an injunction is in the

public interest. Id.

          The public has strong interests in the effective enforcement of the antitrust laws and in

preserving its ability to order effective relief if it succeeds after a trial on the merits. Id. These

interests are plainly served by entering an injunction. Plaintiffs have shown a likelihood of

success on the merits, and if the Court does not enter an injunction and allows the parties to

merge, then it may be more difficult to order effective relief after a trial on the merits by

“unscrambling” merged assets to “recreate pre-merger competition.” See Heinz Co., 246 F.3d at

726. Defendants argue that consumers’ interests in receiving the benefits of the transaction

outweigh these public interests, but the Court has already found that defendants have not shown

a likelihood that the consumer benefits of the merger outweigh its anticompetitive effects. Thus,

any interest consumers may have in the consummation of the merger is too small to outweigh the


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 Plaintiffs also argue that the HPN is not a merger-specific benefit because NorthShore could contract to join the
HPN without merging. The Court need not reach this argument because defendants’ failure to prove that the
merger’s benefits outweigh the possible anticompetitive effects is a sufficient basis for concluding that they have not
met their burden of establishing an efficiencies defense.

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public’s interest in the enforcement of the antitrust laws. See Saint Alphonsus Med. Ctr. -

Nampa, Inc. v. St. Luke’s Health Sys., Ltd., No. 1:12-CV-00560-BLW, 2014 WL 407446, at *25

(D. Idaho Jan. 24, 2014) (“[T]he Clayton Act is in full force, and it must be enforced. The Act

does not give the Court discretion to set it aside to conduct a health care experiment.”), aff’d 778

F.3d 775 (9th Cir. 2015). The equities weigh in favor of the injunction.

                                         CONCLUSION

       Because plaintiffs have demonstrated a likelihood of success on the merits and that the

equities weigh in their favor, their motion for preliminary injunction [152] is granted.

Defendants are enjoined from consummating their proposed merger by affiliating or acquiring

each other’s assets or other interests, pending final disposition of the FTC’s full administrative

proceeding on the merits.



SO ORDERED.                                          ENTERED: March 16, 2017




                                                     HON. JORGE L. ALONSO
                                                     United States District Judge




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